         Case 1:20-cr-00661-CM Document 19 Filed 07/14/21 Page 1 of 1


                                                                                           March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                         CONSENT TO PROCEED BY
                                                                  VIDEOCONFERENCE
                         -v-
                                                                   1.J> -CR-       (p4 I   ~ LJ
AMu•-    t3'~no G(M°'o...~"'
                                  Defendant(s).
---------------------------------------X


Defendant     f-\r.A,~  ~r'\,W\-0    [l,,._~.,.__;_       hereby voluntarily consents to
participate in the following proceeding via videoconferencing:

       Initial Appearance/Appointment of Counsel

       Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
       Indictment Form)
                                                        ~   ,r.=======::::;::====::::;,
       Preliminary Hearing on Felony Complaint                  USDC   SONY
                                                                DOCUMENT
       Bail/Revocation/Detention Hearing
                                                                1:1. .FCTRONICALLYFILED
                                                            . pnc #: __________
 ✓     Status and/or Scheduling Conference                  I
                                                            · D,\ l F f;'Il.,ED:
        Misdemeanor Plea/Trial/Sentence




Defendant's Signature                                 Defense Counsel's Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

  A   Hlt't   se'-L~O          \!~lt"-tJ\..
Print Defendant's Name                                Print Defense Counsel's Name
